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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.        CV 19-10374-SB(Ex)                                           Date      September 28, 2022
 Title           THIMES SOLUTIONS, INC. V. TP-LINK USA CORPORATION, ET AL.




 Present: The Honorable        Charles F. Eick, United States Magistrate Judge
            Valencia Munroe                                 None                                 None
                Deputy Clerk                      Court Reporter / Recorder                   Tape No.
           Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          None                                                   None
 Proceedings:              (IN CHAMBERS)


         “TP-Link USA’s Application for Leave to File Under Seal Certain Portions of the Joint Stipulation,
etc.,” filed September 21, 2022, is denied. See L.R. 79-5.2.2(b)(i).




cc:      Judge Blumenfeld
         All Counsel of Record
                                                                      Initials of Deputy Clerk    VMUN




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